                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

CHRISTOPHER E. DORWORTH,

     Plaintiff,

v.                                Case No.: 6:23-cv-871-JA-DCI

JOEL MICAH GREENBERG, et al.,

     Defendants.


 DEFENDANT, ABBY GREENBERG’S MOTION TO DISMISS VERIFIED
            AMENDED COMPLAINT (DOC. NO. 62)
                                 INTRODUCTION

        Plaintiff’s Amended Complaint (Doc. No. 62) asserts two theories of liability

against Defendant, Abby Greenberg. First, Plaintiff alleges that Abby Greenberg is

derivatively liable for the tortious actions of her ex-husband, Joel Greenberg, and A.B.

through participating in a federal civil RICO conspiracy (Count II); Florida civil RICO

conspiracy (Count IV); aiding and abetting (Count VI); and common law civil

conspiracy (Count VII). Second, Plaintiff alleges that Abby Greenberg is directly liable

for publishing false statements on her own about Plaintiff engaging in a ghost political

candidate scheme and sexual misconduct (Count V). As explained below, Plaintiff

fails to state a claim against Abby Greenberg under either theory of liability.

   I.       Abby Greenberg’s Derivative Liability

        Joel and Abby Greenberg were married from 2016 until their divorce was

finalized on April 25, 2022. See Doc. No. 62 at ¶¶ 18, 273. During that time, Joel

Greenberg purportedly committed numerous crimes and tortious acts as delineated in

the table below:

 Paragraph        Alleged Defamatory Statement Attributable to Defendant, Joel
 Number                                     Greenberg
   378(a)      Falsely averring Dorworth was involved in the scheme to sex traffic
               minors. . .
   378(b)      Falsely averring Dorworth had sex with an underage A.B. . . .
   378(c)      Falsely averring Dorworth was involved in an attempt to obstruct
               justice through witness tampering. . .
   378(d)      Falsely averring Dorworth was involved in the ghost candidate scheme
               involving the 2020 Florida Senate District Nine election and incurred
               campaign finance violations in furtherance of the scheme. . .
   378(e)      Falsely impersonating Dorworth in communications to the employer
               of Joel Greenberg’s political opponent and creating social media

                                           1
               accounts made to suggest Dorworth was behind them . . .
   378(f)      Falsely describing Dorworth and others as a “mafia” with a criminal
               agenda . . .
   378(g)      Falsely averring Dorworth was having an extramarital affair with his
               female attorney. . .
   378(h)      Falsely averring Dorworth borrowed money from Jim Stelling to avoid
               detection in acquiring prostitutes and drugs. . .

       Though Plaintiff seeks to impute the knowledge and actions of Joel Greenberg

to Abby Greenberg, the mere act of being married to Joel Greenberg from 2016

through 2022 is not sufficient to impose derivative liability on Abby Greenberg for

these eight (8) actions. Instead, the general rule in Florida is that “neither the liability

nor the knowledge of one spouse can be [] imputed to the other.” Boswell v. Russell,

819 So. 2d 925, 927 (Fla. 5th DCA 2002). To overcome this general rule, Plaintiff

must plead and prove that Abby Greenberg: (1) had knowledge of her ex-husband’s

tortious conduct; and (2) authorized and participated in her ex-husband’s tortious

conduct. See Schryburt v. Olesen, 475 So. 2d 715, 716 (Fla. 2d DCA 1985) (“Under

Florida law, a wife is not liable for her husband’s tort when she has no knowledge of

this tortious conduct and does not authorize or participate in the act.”).

       Plaintiff has not adequately pled that Abby Greenberg knew of the eight (8)

tortious actions attributed to her ex-husband. Moreover, Plaintiff has not adequately

pled that Abby Greenberg authorized and participated in the eight (8) tortious actions.

As a result, Plaintiff fails to state a claim for derivative liability on the part of Abby

Greenberg for the actions of her ex-husband. See Schryburt, 475 So. 2d at 715 (fact that

wife joined in sale of home by signing deed, standing alone, was insufficient to support



                                             2
judgment against wife for fraudulent concealment and misrepresentation with regard

to leaky roof, when there was no evidence that wife had any knowledge of condition

or roof, or that she was present, participated in, or had any knowledge of any of the

acts constituting the fraudulent concealment and misrepresentation); Baird v. Johnson,

235 So. 2d 538, 539-540 (Fla. 4th DCA 1970) (where wife delivered money given to

her by bailor to husband in accordance with bailor’s instructions and she did not have

custody or control of funds after delivering same to husband, she was not liable for any

conversation of funds by husband); Boswell, 819 So. 2d at 925 (wife could not be liable

for the negligence of her husband in allowing bull to stray onto highway and injuring

motorist).

       Moreover, Plaintiff fails to state a claim for derivative liability for the actions of

A.B. for falsely averring that Plaintiff was involved in a scheme to sex traffic minors

and that Plaintiff had sex with an underage A.B. See Doc. No. 62 at ¶ 447. On that

subject, the best Plaintiff can allege is that: “Upon information and belief, Abby . . .

knew about or became aware of Joel’s relationship with A.B.” and that “Joel

Greenberg and Abby Greenberg, and upon information and belief, A.B. and others,

continued to attempt to frame Dorworth and others throughout 2022.” See Doc. No.

62 at ¶¶ 168 & 275. These types of allegations based upon information and belief are

insufficient to state a claim for relief. See Scott v. Experian Info. Sols., Inc., No. 18-cv-

60178, 2018 WL 3360754, at *6 (S.D. Fla. June 29, 2018) (“Conclusory allegations

made upon information and belief are not entitled to a presumption of truth, and



                                             3
allegations stated upon information and belief that do not contain any factual support

fail to meet the Twombly standard”); (internal citations omitted).

      On August 8, 2023, Plaintiff amended his Complaint to include additional

allegations about Abby Greenberg in an effort to establish derivative liability. See

generally id. The Amended Complaint improperly incorporates by reference Plaintiff’s

Original Complaint. See id. at ¶ 348. Additionally, the allegations lodged against Abby

Greenberg lack the factual specificity required to plead conspiratorial intent, in prelude

to accusing her of federal RICO conspiracy, Florida RICO conspiracy, aiding and

abetting defamation, and civil conspiracy.

      Plaintiff’s derivative liability allegations are so weak that he apparently felt the

need to justify them to the Court. Id. at ¶ 41 (“Each allegation in this pleading . . . is

likely to have evidentiary support after a reasonable opportunity for further

investigation, discovery, and public records requests, some of which is currently

pending.”).

      At bottom, all Plaintiff can muster against Defendant, Abby Greenberg, are

allegations based on inference. And from inference-based allegations, Plaintiff asks

this Court to take inferential leap after leap, to assume that Abby Greenberg: (1) knew

who A.B. was; (2) knew what A.B. and Joel were saying about Plaintiff, and to whom;

(3) knew the statements to be false; and (4) authorized and participated in their

publication.

      Each of Plaintiff’s inferential leaps lacks the factual support necessary to plead

a plausible claim for derivative liability on the part of Abby Greenberg. Further, rather

                                             4
than suggesting a vast conspiracy among varied defendants, Plaintiff’s allegations

permit many innocent alternatives: that Joel Greenberg implicated Plaintiff on his own

in an effort to gain government leniency; that Andrew and Susan Greenberg funded

Joel Greenberg’s legal defense because he is their son, without knowing of Joel

Greenberg’s claims against Plaintiff, without knowing if they were true or false, and

without even knowing who A.B. is; that Joel Greenberg’s father, Dr. Andrew

Greenberg, received his available income from the Greenberg Dental entities as an

employee—as normally paid without any conspiratorial intent; that Andrew and

Susan Greenberg gave money to Abby Greenberg because they wanted to support their

grandchildren, who have lost their father for over a decade; that Abby Greenberg

supported Joel Greenberg’s defense believing his claims against Plaintiff; and that A.B.

may well have implicated Plaintiff for her own sake, without any agreement with any

other Defendant. Plaintiff’s Amended Complaint offers no facts ruling out these—and

many other—innocent alternatives to Plaintiff’s conspiracy theories. Accordingly,

Plaintiff’s claims against Abby Greenberg based on derivative liability (Counts II, IV,

VI, and VII) must be dismissed.

   II.      Abby Greenberg’s Direct Liability

         Plaintiff’s theory of direct liability against Abby Greenberg is also fatally flawed.

In Count V of the Amended Complaint, Plaintiff attempts to assert a direct claim

against Abby Greenberg for defamation alleging: “Defendant Abby Greenberg also

made false statements regarding Dorworth, including that Dorworth engaged in a



                                               5
ghost candidate scheme, and further disseminated sexual misconduct allegations

regarding Dorworth to the media.” Doc. No. 62 at ¶ 448.

       To assert a cause of action for defamation, a plaintiff must “set out the substance

of each allegedly defamatory statement. . . ; the date, place, and manner of publication;

to whom the statement was made; and facts showing the damages flowing from each

statement.” See Bezeau v. Cable Equip. Servs., Inc., 2015 WL 3540009, at *4 (S.D. Fla.

May 27, 2015). Here, Plaintiff fails to state the specific dates of publication, the place

of publication, the manner of publication, the identity of the individuals who read,

heard or saw the alleged statements, and any facts showing the damages flowing from

each statement. Plaintiff’s claim, therefore, lacks the specificity required to state a

claim. Moreover, to the extent the alleged statements were published by Abby

Greenberg to Joel Greenberg during their marriage, they are not actionable as

communications between spouses and are absolutely privileged. See Restatement

(Second) of Torts § 592 (“A husband or a wife is absolutely privileged to publish to the

other spouse defamatory matter concerning a third person.”). Further, to the extent

the alleged statements were published in grand jury proceedings, they are absolutely

privileged and cannot form the basis for a defamation claim. See Buchanan v. Miami

Herald Pub. Co., 206 So. 2d 465, 467-68 (Fla. 3d DCA 1968); State v. Tillet, 111 So. 2d

716, 721-22 (Fla. 2d DCA 1959).

                                      BACKGROUND1

1
  The following background is pulled from Plaintiff’s original and Amended Complaint. To the extent
these allegations extend beyond threadbare conclusions, the Defendant, Abby Greenberg, accepts
them as true for the purpose of this motion, but does not concede their accuracy.

                                                6
       After various Defendants moved to dismiss Plaintiff’s original Complaint,

Plaintiff filed an Amended Complaint. See Doc. No. 62. In the Amended Complaint,

Plaintiff accuses Abby Greenberg of federal RICO (Count II), Florida RICO (Count

IV), defamation (Count V), aiding and abetting defamation (Count VI); and civil

conspiracy (Count VII).      According to Plaintiff—largely through 42 separate

“information and belief allegations”—Defendants, including Abby Greenberg, falsely

accused Dorworth of being involved in, among other things, child sex trafficking,

obstruction of justice, and participating in “ghost candidate” schemes. See, e.g., Doc.

62 at ¶ 8.

       Plaintiff’s Amended Complaint accuses Defendants of conspiring together over

a roughly three-year period to implicate Plaintiff. Even setting aside that Plaintiff

offers no factual allegations showing a vast conspiracy, a close chronological reading

of Plaintiff’s allegations shows that his entire theory is implausible and teeming with

internal inconsistencies.

       I.    Plaintiff’s alleged “pattern of racketeering.”

       The substance of Plaintiff’s allegations begin in January 2017, when Joel

entered office as Seminole County Tax Collector. While in office, between 2017 and

2020, Joel committed a number of crimes. Eventually, on June 17, 2020, federal

prosecutors charged Joel with stalking a political opponent. See Doc. 62 at ¶ 65. Soon

after, Joel purportedly cornered Plaintiff and demanded that Plaintiff help him secure




                                          7
a preemptive pardon. See id. at ¶¶ 72–90. Then, again some unidentified time “shortly

thereafter,” Joel allegedly told Plaintiff that “he was [also] concerned about his

exposure for sexual misconduct with A.B.” Id. at ¶ 91. As part of this interaction, Joel

allegedly claimed that “he and his parents would seek A.B.’s cooperation by ‘paying

her off’” and that he was paying A.B.’s attorney’s fees. Id. at ¶¶ 92–93.

       Despite Joel’s claims that he would pay A.B. off, in August 2020, A.B. testified

about Joel before a grand jury. See id. at ¶¶ 152, 235. During the same grand jury

session or in one soon after, A.B. and another girl allegedly implicated Plaintiff. See id.

at ¶ 120 (“Upon information and belief, in Fall 2020, at the behest of Joel Greenberg,

A.B. and her friend went before a grand jury and falsely implicated Dorworth, Gaetz,

and others in sexual impropriety.”).

       Then, on August 14, 2020, Joel texted Plaintiff—still pushing for a pardon—

claiming “that A.B. did not wish to speak to the authorities.” Id. at ¶ 109. Apparently

around the same time—the most Plaintiff offers is “late summer 2020”—Joel, A.B.

and Abby began speaking with federal prosecutors to frame Plaintiff. Id. at ¶ 122.

Finally, on August 19, 2020, a federal grand jury returned a superseding indictment

accusing Joel of sexual conduct with A.B. Id. at ¶ 118.

       The Amended Complaint next claims that Joel made eight (8) false statements

about Dorworth, all of which are summarized in the table above. Id. at ¶ 378. Though

Plaintiff claims that Joel made these eight (8) false statements to try to secure a lighter

sentence from the federal authorities, some of these statements were purportedly made

in interviews with state authorities—without jurisdiction to help Joel with his federal
                                            8
charges. See, e.g., id. at ¶¶ 156, 161; Gamble v. United States, 139 S. Ct. 1960, 1964 (2019)

(“We have long held that a crime under one sovereign’s laws is not ‘the same offence’

as a crime under the laws of another sovereign.”).

       In sum, according to Plaintiff’s muddled allegations, Joel controlled A.B.’s

testimony, yet she testified about him before a grand jury—leading to his indictment.

At the same time, Joel demanded that Plaintiff help him secure a pardon. Yet Joel

simultaneously destroyed any leverage he would have over Plaintiff by implicating

Plaintiff in conversations with federal authorities. Undaunted, Joel apparently decided

that he could secure leniency in his federal case by falsely implicating Plaintiff. Yet

Joel did so in interviews with state law enforcement—who did not control his federal

case. On top of all this, the Defendant, Abby Greenberg, must have known about all

of Joel’s statements—and that his statements were defamatory—because she was his

wife at the time and mother of his children. These “allegations are conclusory, without

specific factual detail from which the reader can infer the substance of [Plaintiff’s]

conspiracy theories.” Ayers v. Gabis, Case No. 20-11735, 2021 WL 4316853, at *7 (E.D.

Mich. Sept. 23, 2021).

       II.    Plaintiff’s allegations of “RICO Enterprise” and defamation.

       Plaintiff ascribes the bad acts described above to one RICO enterprise—the

“Greenberg Enterprise”—made up of the Greenberg family, their businesses, and

A.B., and operating with the intent to lessen Joel’s criminal sentence by defaming

Plaintiff and falsely implicating him in crimes. Doc. No. 62 at ¶¶ 264–90. As elaborated

below, however, as to every member of this “enterprise” except Joel, Plaintiff offers

                                             9
nothing but threadbare, unadorned allegations that they agreed at some unspecified

time to join the alleged conspiracy.

      Plaintiff also claims, with no factual support, that “one of the Defendants in this

action leaked false and derogatory information” about him to the New York Times.

Id. at ¶ 356. In turn, a New York Times reporter contacted Plaintiff on April 8, 2021.

Id. at ¶ 355. This forced Plaintiff to inform his employer, the lobbying firm Ballard

Partners, and Plaintiff “was . . . compelled to resign his $1 million per year role with

Ballard” on April 9, 2021. Id. at ¶ 359.

      Almost two years later, on December 30, 2022, counsel for A.B. sent a demand

to Plaintiff accusing him of sexual misconduct, demanding payment, and threatening

litigation. Id. at ¶¶ 479, 487. In turn, on April 7, 2023, Plaintiff filed this action in

Florida state court, which Defendants then removed to this Court. See Doc. 1.

      Through his two successive complaints, the gist of Plaintiff’s allegations has not

changed: Plaintiff only offers supposition to support a theory of derivative liability as

to Abby Greenberg.

                                       ARGUMENT

      The Court must dismiss Plaintiff’s Amended Complaint, in its entirety, for at

least six (6) reasons. First, stripping the conclusory allegations away, the Amended

Complaint lacks specific factual allegations to establish derivative liability against

Abby Greenberg. Second, Plaintiff fails to allege an underlying Federal or Florida

RICO violation that would support imposing derivative liability on Abby Greenberg



                                           10
through a conspiracy. Third, Plaintiff insufficiently alleges that Defendant, Abby

Greenberg, agreed to violate federal or Florida RICO to support imposing derivative

liability on Abby Greenberg. Fourth, Plaintiff insufficiently alleges facts to support the

elements of a direct claim against Abby Greenberg for defamation. Moreover, at least

a portion of that claim is not actionable because it is absolutely privileged as a

statement made to a spouse during the course of a marriage or a statement made to a

grand jury. Fifth, as to aiding and abetting, Plaintiff does not allege (other than in a

conclusory fashion) that Abby Greenberg knew of any alleged defamatory statements

attributable to Joel Greenberg and/or A.B. and provided substantial assistance to

advance those defamatory statements. Sixth, Plaintiff’s common law conspiracy claim

fails because—among its other flaws—it does not properly allege that Abby Greenberg

agreed to commit an unlawful act. For all these reasons, this Court must dismiss

Plaintiff’s Amended Complaint as to Abby Greenberg in its entirety.

   I.      Plaintiff’s Amended Complaint makes no non-conclusory allegations of
           wrongdoing against Defendant, Abby Greenberg.

        The United States Supreme Court has recognized that groundless claims should

be exposed “at the point of minimum expenditure of time and money by the parties

and the court.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007) (citations omitted).

Discovery in complex federal cases can be enormously expensive, and courts must be

conscious of this reality so as to avoid situations in which plaintiffs use the threat of

such expense to push defendants “to settle even anemic cases.” Id. at 559. Early




                                           11
resolution is appropriate where a plaintiff’s cause of action is simply not plausible. Id.

at 570.

       Further, stating a conspiracy claim requires allegations that cross two related

thresholds: the first threshold between the conclusory and the factual, and the latter

threshold between the factually neutral and the factually suggestive. Twombly, 550 U.S.

at 557 & n.5 (citing DM Rsch. Inc. v. Coll. of Am. Pathologists, 170 F.3d 53, 56 (1st Cir.

1990) for the holding that terms like “conspiracy” and “agreement” border on the side

of legal conclusions, without more specific allegations identifying a written agreement

or a basis for inferring a tacit agreement).

       To survive a motion to dismiss, Plaintiff must plead sufficient facts to render his

conspiracy claims “plausible.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In turn,

plausibility requires Plaintiff to “go beyond pleading merely the ‘sheer possibility’ of

unlawful activity” and plead specific “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” B-Smith

Enters., LP v. Bank of Am., N.A., Case No. 22-11383, 2023 WL 2034419, at *1 (11th Cir.

Feb. 16, 2023) (quoting Iqbal, 556 U.S. at 678). Factual “allegations that are merely

consistent with liability” cannot render Plaintiff’s claims plausible. Doe v. Samford

Univ., 29 F.4th 675, 688 (11th Cir. 2022) (cleaned up).

       The Eleventh Circuit has explained time and again that the first step in

evaluating a complaint under Federal Rule of Civil Procedure 12(b)(6) is to cast aside

all conclusory statements—that is, “formulaic recitations” of the elements of a claim

and legal conclusions without adequate factual support. Omnipol, A.S. v. Multinational
                                               12
Def. Servs., LLC, 32 F.4th 1298, 1310 (11th Cir. 2022) (dismissing RICO conspiracy

claim based on formulaic recitations); McCullough v. Finley, 907 F.3d 1324, 1333 (11th

Cir. 2018) (on a motion to dismiss, the court “identif[ies] conclusory allegations and

then discard[s] them”); Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1293 (11th Cir.

2010) (explaining that, when “analyzing [a] conspiracy claim under the plausibility

standard,” the “first task is to eliminate any allegations in [the] complaint that are

merely legal conclusions.”).

      In the RICO conspiracy context, examples of such conclusory claims include

allegations that “the defendants ‘intentionally conspired’ and ‘agreed to the

commission of [the racketeering acts] to further the scheme’ outlined in the

complaint,” Omnipol, 32 F.4th at 1309–10, or that “[e]ach Defendant and member of

the conspiracy, with knowledge and intent, agreed to the overall objective of the

conspiracy, agreed to commit acts of fraud . . . , and actually committed such acts,”

Cigna Corp., 605 F.3d at 1293.

      Of the 498 paragraphs in Plaintiff’s Amended Complaint, 74 of the paragraphs

specifically reference Defendant, Abby Greenberg; and the vast majority of those (at

least 31 paragraphs) contain conclusory allegations. Given their number, the

conclusory allegations lodged against Defendant, Abby Greenberg, are delineated in

Appendix A to this Motion to Dismiss. This Court’s first step should be to cast these

conclusory allegations aside.




                                          13
         “After eliminating th[ose] wholly conclusory,” id. at 1294, Plaintiff is left with

insufficient allegations to support derivative liability against Defendant, Abby

Greenberg.

         For example, Plaintiff asks this Court to infer malfeasance from allegations that

Joel “kept a close relationship with his coconspirators”—that is, his parents and the

mother of his children. Id. at ¶¶ 229–30. And that Andrew and Susan Greenberg

increased their support for Abby Greenberg and their grandchildren after Joel was

incarcerated. Id. at ¶ 319.

         These “allegations are merely consistent with liability” and permit an “obvious

alternative explanation[]”: that the Greenbergs are Joel’s parents, and—rather than a

scheme to defame Plaintiff—their filial relationship is why they associated with him

since birth, why they loaned him money, and why they continue to support their

grandchildren and the mother of their grandchildren after the loss of a parent. Samford

Univ., 29 F.4th at 688.

         Even ignoring this general problem, Plaintiff also fails to state a claim for

reasons specific to each count, to which this motion now turns.

   II.      Plaintiff’s Federal and Florida RICO claims (Counts II and IV) fail to
            allege an underlying RICO enterprise or that Defendant, Abby
            Greenberg, agreed to participate in a RICO enterprise

         Plaintiff’s Federal and Florida RICO claims (Counts II and IV) fail for two

reasons: (1) his failure to plead the existence of an underlying enterprise and (2) his

failure to plead that Defendant, Abby Greenberg, agreed to join in a conspiracy to



                                             14
violate RICO. See Omnipol, 32 F.4th at 1308 (“[T]he analysis of both the federal and

state RICO claims is the same.”).

             A. Plaintiff has failed to plead an underlying enterprise.

      Before Plaintiff can state a viable RICO conspiracy claim, he must state a viable

underlying RICO claim. See Cisneros v. Petland, Inc., 972 F.3d 1204, 1220 (11th Cir.

2020) (declining to reach RICO conspiracy claim because underlying RICO claim

failed). Here, Plaintiff alleges that Joel violated 18 U.S.C. § 1962(c). Section 1962(c)

prohibits “conduct[ing] or participat[ing], directly or indirectly, in the conduct of [a

criminal enterprise’s] affairs through a pattern of racketeering activity.” 18 U.S.C. §

1962(c). The elements of this claim are thus: (1) conduct; (2) of an enterprise; (3)

through a pattern; (4) of racketeering activity; (5) which causes the plaintiff injury.

Cisneros, 972 F.3d at 1211.

      Focusing on the enterprise element, “a one-man show” does not make a RICO

enterprise. Guidry v. Bank of LaPlace, 954 F.2d 278, 283 (5th Cir. 1992). Rather, a RICO

enterprise exists only “where a group of persons associates, formally or informally,

with the purpose of conducting illegal activity.” Jackson v. Bellsouth Telecomms., 372

F.3d 1250, 1264 (11th Cir. 2004) (quoting United States v. Hewes, 729 F.2d 1302, 1311

(11th Cir. 1984)). In his Amended Complaint, Plaintiff alleges an “association-in-fact”

enterprise—in other words, an enterprise that is not itself a legal entity. See Doc. 62 at

¶ 264. Instead, an association-in-fact enterprise is “simply a continuing unit that

functions with a common purpose.” Cisneros, 972 F.3d at 1211. Though the concept



                                           15
seems simple, pleading such an enterprise is “challenging.” Id. (quotations omitted).

Plaintiff must plead, among other elements, that the enterprise has an illicit purpose.

Almanza v. United Airlines, Inc., 851 F.3d 1060, 1067 (11th Cir. 2017) (cleaned up). That

is where Plaintiff fails.

       Plaintiff must “plausibly allege that the participants shared the purpose of . . .

[exonerating Joel] through a particular criminal course of conduct”—not an innocent

alternative. Cisneros, 972 F.3d at 1211 (emphasis added). Thus, Plaintiff must allege

sufficient “concrete facts”—not “sweeping, general, and conclusory” allegations—to

rebut possible innocent and “obvious alternative” purposes. Id. at 1212 (cleaned up);

see also Tan v. Quick Box, LLC, Case No. 3:20-CV-01082, 2020 WL 7226440, at *23

(S.D. Cal. Dec. 8, 2020) (explaining a RICO claim must contain “specific factual

allegations that enable courts to rule out the innocent explanation in favor of plaintiff’s

fraudulent scheme hypothesis.”).

       In his Amended Complaint, Plaintiff focuses on one association-in-fact

enterprise: “The Greenberg Enterprise.” Doc. 62 at ¶ 264. According to Plaintiff, the

enterprise “shared a common purpose of mitigating Joel and others’ criminal liability

by falsely implicating others.” Id. at ¶ 265. But Plaintiff offers no facts that support this

conclusion. Indeed, as discussed above, the association between Joel Greenberg, Abby

Greenberg, and the Greenbergs is self-evident—they are or were related by blood or

marriage. Plaintiff has pleaded no non-conclusory facts that would allow this Court

to rule out that innocent explanation. In short, all Plaintiff has alleged is that Joel



                                             16
committed RICO predicate acts—that is, federal crimes—for Joel’s benefit. Plaintiff

has thus failed to plead an underlying RICO violation.

             B. Plaintiff has failed to plead an agreement to violate RICO.

      Even assuming Plaintiff sufficiently pleaded an underlying RICO enterprise

(which he failed to do), Plaintiff has not pleaded facts sufficient to show that

Defendant, Abby Greenberg, agreed to join in that enterprise. Section 1962(d) “makes

it illegal for anyone to conspire to violate one of the substantive provisions of RICO,

including § 1962(c).” Cigna Corp., 605 F.3d at 1293. “A plaintiff can establish a RICO

conspiracy claim in one of two ways: (1) by showing that the defendant agreed to the

overall objective of the conspiracy; or (2) by showing that the defendant agreed to

commit two predicate acts.” Id. (quotation omitted). Plaintiff does not appear to

allege—much less provide any non-conclusory allegations—that Defendant, Abby

Greenberg, agreed to commit two predicate acts. Thus, Plaintiff must allege

Defendant, Abby Greenberg, agreed to the overall objective of the conspiracy:

“mitigating Joel and others’ criminal liability by falsely implicating others.” Doc. 62

at ¶ 265.

      Plaintiff offers no facts showing that the Defendant, Abby Greenberg, agreed to

this objective. Rather, he offers only the conclusory claims compiled in Appendix A

which are not sufficient to plead a RICO conspiracy claim. Almanza, 851 F.3d at 1068

(explaining that “allegations [that] simply recite a legal conclusion—the existence of

an agreement. . . . are inadequate for pleading purposes.”); Omnipol, 32 F.4th at 1309



                                          17
(rejecting “simpl[e]” allegations of agreement); Goren v. New Vision Int’l, Inc., 156 F.3d

721, 733 (7th Cir. 1998 ) (“It is well established that a complaint may be dismissed if

it contains only conclusory, vague and general allegations of a conspiracy.”); see also

Twombly, 550 U.S. at 557 (“[A] conclusory allegation of agreement at some

unidentified point does not supply facts adequate to show illegality.”). Because

Plaintiff merely offers unadorned claims of agreement, his RICO conspiracy counts

(Counts II and IV) must be dismissed.

   III.     Plaintiff has failed to state a claim for defamation against Defendant,
            Abby Greenberg (Count V)
      Through paragraphs 156-162; 373-376; and 448 of the Amended Complaint,

Plaintiff attempts to assert a direct claim against Abby Greenberg for defamation:

   Paragraph
                                                Allegation
    Number
      156           On June 23, 2022, Joel Greenberg sat for a transcribed interview
                    with state prosecutors, including Stacey Salmons and Special
                    Agent Supervisor Louis Negret, and Inspector Troy Cope, for an
                    interview at the Orange County Jail. See June 23, 2022
                    Transcript of Joel Greenberg Interview, attached hereto as
                    Exhibit 1.
          157       During that investigation, Joel Greenberg falsely claimed that
                    Dorworth had illegally paid $25,000 to Ben Paris to run against
                    Lee Constantine. Id. at 37:33-40.
          158       Lee Constantine is an opponent of Dorworth’s proposed
                    development.
          159       Joel Greenberg claimed that his wife, Abby Greenberg, had
                    supplied this information to him. Id. at 23:29-36.
          160       According to Greenberg, these allegations arose six months prior
                    to the June 2022 interview, and Abby conveyed this information
                    to Greenberg on the phone while he was incarcerated.
          161       Upon information and belief, the authorities contacted Abby
                    Greenberg, who corroborated Joel Greenberg’s accusation,
                    and/or sat before a state grand jury.


                                           18
       162         In fact, it appears from the dialogue that Abby Greenberg had
                   already sat with the authorities or provided information in that
                   investigation. Id. at 39:18-33 (Joel indicating that Abby had
                   already “come in on” some redacted issue.)
       373         Abby Greenberg falsely accused Dorworth of being involved in
                   the ghost candidate scheme described above.
       374         Upon information and believe, Abby Greenberg was the source
                   for the New York Times story, which covered the allegation
                   against Dorworth about the ghost candidate scheme.
       375         Abby Greenberg also disseminated information about the false
                   sexual misconduct allegations to the press.
       376         Upon information and belief, Abby Greenberg has disseminated
                   information about the false sexual misconduct allegations to the
                   Daily Beast on multiple occasions.
       448         Defendant Abby Greenberg also made false statements regarding
                   Dorworth including that Dorworth engaged in a ghost candidate
                   scheme, and further disseminated sexual misconduct allegations
                   regarding Dorworth to the media.

However, Plaintiff fails to identify the who, what, where, when, and how associated

with each defamatory statement as required by applicable law.

      First, with respect to the ghost political candidate scheme, Plaintiff does not

identify the persons that Abby Greenberg purportedly published the defamatory

statements to—other than Joel Greenberg and a grand jury. But those publications are

insufficient to state a claim for defamation because statements made by one spouse to

another spouse are absolutely privileged. See Restatement (Second) of Torts § 592;

Laver v. Peal, Case No. 21-cv-1061-JES-JEH, 2021 WL 3673810, at *3 (C.D. Ill. Aug.

18, 2021) (applying Illinois law and dismissing action for defamation based on

absolute privilege afforded to publications between spouses); Medcalf v. Walsh, 938 F.

Supp. 2d 478, 486 (S.D.N.Y. 2013) (applying New York law and dismissing action for




                                         19
defamation because communications between spouses are absolutely privileged). 2

Likewise, statements made to a grand jury are absolutely privileged and cannot form

the basis of a defamation clam. See Miller v. Support Collection Unit Westchester Cnty.,

Case No. 8:09-CV-1898-T-27AEP, 2010 WL 767043, *8 (M.D. Fla. Mar. 5, 2010)

(finding that plaintiff failed to state a claim for defamation because “affidavits

submitted to the courts, and testimony given before the court or in a grand jury

proceeding are absolutely privileged and cannot form the basis for a defamation claim

by Plaintiff.”). This is the case even if the “testimony is given maliciously and with

knowledge of its falsity.” State v. Tillett, 111 So. 2d 716, 720 (Fla. 2d DCA 1959).

        Second, particularly with respect to the allegations of sexual misconduct,

Plaintiff does not identify the specific substance of each of the defamatory statements

that Abby Greenberg purportedly made.

        Third, Plaintiff does not adequately describe the date, place, and manner of the

publication made by Defendant, Abby Greenberg.

        Finally, Plaintiff does not plead facts showing the damages flowing from each

of the defamatory statements. See Bezeau v. Cable Equip. Servs., Inc., Case No. 14–

24538–CIV, 2015 WL 3540009, at *4 (S.D. Fla. May 27, 2015) (“If CES intends to

plead a separate claim for defamation it must set out the substance of each allegedly



2
   Plaintiff alleges that Abby Greenberg was married to Joel Greenberg from 2016 until their divorce was
finalized on April 25, 2022. See Doc. No. 62 at ¶ 18. Plaintiff further alleges that the defamatory statement
made by Abby Greenberg to Joel Greenberg about the ghost political candidate took place six (6) months prior
to June of 2022. Inasmuch as Abby Greenberg and Joel Greenberg were married at the time of this purportedly
defamatory statement, the communication between Abby Greenberg and Joel Greenberg is absolutely privileged
and not actionable.

                                                    20
defamatory statement on which it is proceeding; the date, place, and manner of

publication; to whom each statement was made; and facts showing the damages

flowing from each statement.”).

      To assert a viable claim for defamation, “the Plaintiff must allege certain facts

such as the identity of the speaker, a description of the statement, and provide a time

frame within which the publication occurred.” Fowler v. Taco Viva, Inc., 646 F. Supp.

152, 157-58 (S.D. Fla. 1986). Given the absence of such allegations here, Plaintiff’s

claim for direct liability against Abby Greenberg for defamation fails. Id. (internal

citations omitted); Woodhull v. Mascarella, Case No. 1:08cv151–SPM/AK, 2009 WL

1790383, at *3 (N.D. Fla. June 24, 2009) (“Specific information must be provided to

support” the elements of defamation “such as the identity of the speaker, the identity

of the persons spoken to, the substance of the statements, and a time frame when the

statements were made.”) (internal citations omitted); Jackson v. N. Broward Cnty. Hosp.

Dist., 766 So. 2d 256, 257 (Fla. 4th DCA 2000) (dismissing defamation claim where

plaintiff failed to “specifically identify the persons to whom the allegedly defamatory

comments were made”); Buckner v. Lower Fla. Keys Hosp., 403 So. 2d 1025, 1028 (Fla.

3d DCA 1981) (dismissing defamation-based claim where plaintiff merely alleged that

the defamatory remarks were made to “numerous third parties on numerous

occasions”).

   IV.    Plaintiff has failed to state a claim for aiding and abetting defamation
          against Defendant, Abby Greenberg (Count VI)

      Plaintiff has also failed to state a claim for aiding and abetting defamation

                                          21
against Defendant, Abby Greenberg. To state an aiding and abetting claim, Plaintiff

must allege: “(1) an underlying violation on the part of the primary wrongdoer; (2)

knowledge of the underlying violation by the alleged aider and abetter; and (3) the

rendering of substantial assistance in committing the wrongdoing by the alleged aider

and abettor.” Lawrence v. Bank of Am., N.A., 455 F. App’x 904, 906 (11th Cir. 2012).

Aiding-and-abetting liability is not “boundless,” rather “courts have long recognized

the need to cabin” such “liability to cases of truly culpable conduct.” Twitter, Inc. v.

Taamneh, 143 S. Ct. 1206, 1220–21 (2023). Such “culpability . . . is necessary” or else

“passive actors like banks [will] become liable for all their customers’ crimes by virtue

of carrying out routine transactions.” Id. at 1222. Here, Plaintiff’s aiding and abetting

claim against Defendant, Abby Greenberg, fails because—assuming that Joel

Greenberg and/or A.B. committed the underlying tort of defamation which Plaintiff

has not sufficiently pled—Plaintiff has not (and cannot) allege that Defendant, Abby

Greenberg, is culpable through her knowledge of the alleged defamatory statements

and providing substantial assistance to further the defamatory actions.

       To be sure, Plaintiff does not allege facts showing that the Defendant, Abby

Greenberg, knew about the alleged defamatory statements attributable to A.B and

rendered substantial assistance to A.B. in advancing those statements. Also, merely

providing “any assistance of any kind” is not enough to create liability for aiding and

abetting a tort. See Twitter, 143 S. Ct. at 1220; see also ZP No. 54 Limited Partnership v.

Fidelity & Deposit Co. of Maryland, 917 So. 2d 368, 370 (Fla. 5th DCA 2005) (surety did

not provide substantial assistance to advance fraud allegedly perpetrated by contractor

                                            22
where surety simply did what sureties do by issuing performance bond to contractor).

        Further, Plaintiff does not allege facts showing that Defendant, Abby

Greenberg, knew about the alleged defamatory statements attributable to Joel

Greenberg set forth in the table above and rendered substantial assistance in advancing

those statements. On the contrary, the best Plaintiff offers is that “Greenberg kept a

close relationship with Abby Greenberg, who was his former wife, and who knowingly

corroborated many of his false allegations and who was kept in the fold through

material support from his parents” and that “[e]ach one of the statements was made

by [Joel] Greenberg, and/or repeated or corroborated by A.B. and Abby Greenberg,

with an improper motive to harm Dorworth.” Id. at ¶¶ 230 and 379. These allegations

are insufficient to impose derivative liability on Abby Greenberg for the actions of her

ex-husband. See Boswell v. Russell, 819 So. 2d 925, 927 (Fla. 5th DCA 2002) (“Under

Florida law, neither the liability nor the knowledge of one spouse can generally be

imputed to the other.”); Schryburt v. Olesen, 475 So. 2d 715, 716 (Fla. 2d DCA 1985).

For all these reasons, Plaintiff’s aiding and abetting claim (Count VI) fails.

   V.      Plaintiff has failed to state a claim for civil conspiracy against Defendant,
           Abby Greenberg (Count VII)
        Plaintiff’s civil conspiracy claim fails because the underlying tort of defamation

against A.B., Abby Greenberg, and Joel Greenberg fails for lack of specificity and/or

by virtue of an absolute privilege. See Buckner, 403 So. 2d at 1027 (“To support a cause

of action for conspiracy to defame, it is . . . incumbent upon a plaintiff to properly

allege those elements which would establish a defamation”).


                                            23
       Turning to another issue, pleading a successful civil conspiracy claim requires

pleading “a conspiracy between two or more parties . . . to do an unlawful act or to do

a lawful act by unlawful means.” Walters v. Blankenship, 931 So. 2d 137, 140 (Fla. 5th

DCA 2006). To satisfy that requirement, Plaintiff must provide “clear, positive and

specific allegations; general allegations of conspiracy are not sufficient.” Parisi v.

Kingston, 314 So. 3d 656, 661 (Fla. 3d DCA 2021). Plaintiff must also allege the

conspiracy’s scope, its participants, and when the agreement occurred. See In re

Chiquita Brands Int’l, Inc. Alien Tort Stat. & S’holder Deriv. Litig., 690 F. Supp. 2d 1296,

1311 (S.D. Fla. 2010). And as with RICO, in pleading an agreement between parties

to conspire, a bare assertion of an agreement is insufficient to make that claim

plausible. Almanza, 851 F.3d at 1068.

       Even parallel conduct among parties cannot support a plausible inference of an

agreement. See id. at 1068. More than allegations of parallel conduct, a plaintiff must

plead factually “suggestive” allegations—ones raising a plausibility that a preceding

unlawful agreement was reached—in situations where parallel conduct could just as

well reflect independent action. Twombly, 550 U.S. at 556–57. In other words,

conclusory inferential allegations of conspiracy and agreement do not push a

complaint over the thresholds necessary to state an “entitle[ment] to relief,” under

Rule 8(a), when describing independent actors acting in a way that could well be

expected in the absence of a preceding unlawful agreement. See id. at 557.

       Plaintiff’s civil conspiracy claim fails because his allegations are anything but

clear, positive, and specific. Plaintiff fails to allege facts supporting his claim that
                                            24
Defendants agreed to defame him. Even parallel conduct and knowledge thereof is not

enough—and Plaintiff does not even (properly) allege that. Independently—and,

indeed, far more likely and common—Andrew and Susan Greenberg could just as well

have supplied funds to support a son in legal jeopardy and to support his children (their

grandchildren) without knowing what Joel would say, or had said, about Plaintiff,

much less that any such statements were false. Likewise, Abby Greenberg could just

have well provided support for Joel’s defense without agreeing to defame anyone; the

Greenberg Dental entities likely, if anything, paid compensation to their namesake

founding shareholder and executive; A.B. could simply have asserted and pursued

claims against Plaintiff for her own benefit, without any agreement with any other

Defendant; and, obviously, Joel Greenberg could have implicated Plaintiff, with or

without the assistance of counsel, in an effort to save himself from a longer prison

sentence. In short, Plaintiff’s scant allegations cannot support a claim for conspiracy.

                                    CONCLUSION

       Based on the foregoing discussion and authorities, the Court should dismiss all

counts of Plaintiff’s Amended Complaint against Defendant, Abby Greenberg, with

prejudice as repleading to state a claim is futile.

                     LOCAL RULE 3.01(g) CERTIFICATION

       On the afternoon of Monday, August 28, 2023, counsel for Defendant, Abby

Greenberg, conferred with counsel for Plaintiff, Christopher Dorworth, via zoom on

the issues raised in this Motion to Dismiss and the Plaintiff, Christopher Dorworth,

opposes the relief sought.

                                            25
                                          Respectfully submitted,

                                          /s/ Jason A. Perkins
                                          Jason A. Perkins, Esq.
                                          Florida Bar No. 0610852
                                          CARLTON FIELDS, P.A.
                                          200 S. Orange Avenue, Suite 1000
                                          Orlando, Florida 32801
                                          Phone: (407) 849-0300
                                          Fax: (407) 648-9099
                                          jperkins@carltonfields.com (primary)
                                          mbryan@carltonfields.com (secondary)
                                          dcarlucci@carltonfields.com (secondary)

                                          Attorney for Defendant, Abby Greenberg
                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on Tuesday, August 29, 2023 I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.

                                          /s/ Jason A. Perkins
                                          Jason A. Perkins, Esq.
                                          Florida Bar No. 0610852




                                            26
